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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



U.S. SECURITIES AND EXCHANGE
COMMISSION,

                             Plaintiff,                    Case No. 19-cv-5244 (AKH)

        vs.

KIK INTERACTIVE INC.

                            Defendant.


             FINAL JUDGMENT AS TO DEFENDANT KIK INTERACTIVE INC.

       The U.S. Securities and Exchange Commission ("Commission") having filed a

Complaint and Defendant Kik Interactive Inc. having entered a general appearance; consented to

the Court's jurisdiction over Defendant and the subject matter of this action; consented to entry

of this Final Judgment; and waived any right to appeal from this Final Judgment and any other

ruling in the above-captioned matter; and

       The Court having previously issued an Opinion and Order dated September 30, 2020,

granting summary judgment in favor of the Commission and against Defendant with respect to

the Commission's claim under the Securities Act of 1933 (the "Securities Act") Section 5 [15

USC§ 77e] (Opinion and Order, ECF No. 88):

                                                  I.

       IT IS HEREBY ORDERED, ADWDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating Section 5 of the Securities Act [15 US. C. §

77e] by, directly or indirectly, in the absence of any applicable exemption:

       (a)      Unless a registration statement is in effect as to a security, making use of any
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              means or instruments of transportation or communication in interstate commerce

              or of the mails to sell such security through the use or medium of any prospectus

               or otherwise;

       (b)     Unless a registration statement is in effect as to a security, carrying or causing to

               be carried through the mails or in interstate commerce, by any means or

               instruments of transportation, any such security for the purpose of sale or for

               delivery after sale; or

       (c)     Making use of any means or instruments of transportation or communication in

               interstate commerce or of the mails to offer to sell or offer to buy through the use

               or medium of any prospectus or otherwise any security, unless a registration

               statement has been filed with the Commission as to such security, or while the

               registration statement is the subject of a refusal order or stop order or (prior to the

               effective date of the registration statement) any public proceeding or examination

               under Section 8 of the Securities Act [15 USC.§ 77h].

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant's

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                 II.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that pursuant to Section

21(d)(5) of the Exchange Act [15 USC.§ 78u(d)(5)], with respect to the three trillion Kin

tokens issued by Defendant to itself on September 26, 2017 and any new "cryptocurrency,"



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"digital coin," "digital token," or similar digital asset issued or transferred using distributed

ledger technology (the "Covered Assets"), Defendant, for a period of three years beginning on

the date of entry of this Final Judgment, shall give to the Commission forty-five (45) days '

notice before Defendant participates, directly or indirectly, in an issuance, offer, sale or transfer

of any Covered Asset. Nothing in this paragraph requires, or should be construed to require,

Defendant to seek the Commission's approval or consent prior to issuing, offering, selling, or

transferring any Covered Asset encompassed by this paragraph, nor should this paragraph be

construed to require Defendant to provide the Commission with any information beyond the

notice contemplated herein. Defendant shall transmit the notice required by this paragraph to the

Commission' s counsel ofrecord in this action.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65( d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant's

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                  III.

        IT IS HEREBY FURTHER ORDERED, ADWDGED, AND DECREED that Defendant

is liable for a civil penalty in the amount of $5,000,000 pursuant to Section 20( d) of the

Securities Act [15 U.S.C. § 77t(d)]. Defendant shall satisfy this obligation by paying $5,000,000

to the Securities and Exchange Commission within 30 days after entry of this Final Judgment.

        Defendant may transmit payment electronically to the Commission, which will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from a bank account via Pay.gov through the SEC website at



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http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank

cashier's check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; Kik Interactive Inc. as a defendant in this action; and specifying that payment is made

pursuant to this Final Judgment.

       Defendant shall simultaneously transmit photocopies of evidence of payment and case

identifying information to the Commission's counsel in this action. By making this payment,

Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part

of the funds shall be returned to Defendant.

       The Commission may enforce the Court's judgment for penalties by the use of all

collection procedures authorized by law, including the Federal Debt Collection Procedures Act,

28 U.S.C. § 3001 et seq., and moving for civil contempt for the violation of any Court orders

issued in this action. Defendant shall pay post judgment interest on any amounts due after 30

days of the entry of this Final Judgment pursuant to 28 U.S.C. § 1961. The Commission shall

hold the funds, together with any interest and income earned thereon (collectively, the "Fund"),

pending further order of the Court.

        The Commission may propose a plan to distribute the Fund subject to the Court's

approval. Such a plan may provide that the Fund shall be distributed pursuant to the Fair Fund

provisions of Section 308(a) of the Sarbanes-Oxley Act of 2002. The Court shall retain

jurisdiction over the administration of any distribution of the Fund and the Fund may only be


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disbursed pursuant to an Order of the Court.

         Regardless of whether any such Fair Fund distribution is made, amounts ordered to be

paid as civil penalties pursuant to this Judgment shall be treated as penalties paid to the

government for all purposes, including all tax purposes. To preserve the deterrent effect of the

civil penalty, Defendant shall not, after offset or reduction of any award of compensatory

damages in any Related Investor Action based on Defendant's payment of disgorgement in this

action, argue that it is entitled to, nor shall it further benefit by, offset or reduction of such

compensatory damages award by the amount of any part of Defendant's payment of a civil

penalty in this action ("Penalty Offset"). If the court in any Related Investor Action grants such

a Penalty Offset, Defendant shall, within 30 days after entry of a final order granting the Penalty

Offset, notify the Commission's counsel in this action and pay the amount of the Penalty Offset

to the United States Treasury or to a Fair Fund, as the Commission directs. Such a payment shall

not be deemed an additional civil penalty and shall not be deemed to change the amount of the

civil penalty imposed in this Judgment. For purposes of this paragraph, a "Related Investor

Action" means a private damages action brought against Defendant by or on behalf of one or

more investors based on substantially the same facts as alleged in the Complaint in this action.

                                                   IV.

         IT IS FURTHER ORDERED, ADWDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.



Dated:    {2c::f. ~ , 2020




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